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 6
                       IN THE UNITED STATES DISTRICT COURT
 7
                               DISTRICT OF NEVADA
 8

 9   UNITED STATES OF AMERICA,

10        Plaintiff,                              2:99-CR-0210-HDM-LRL

11        vs.                                     ORDER

12   ARTURO CARILLO,

13        Defendant.

14   _____________________________/

15
          The government’s request to remit the fine (#134) in the above
16
     entitled case is granted.    In the interest of justice, the unpaid
17
     portion of the fine and assessment imposed against the defendant
18
     including interest and penalties is hereby remitted.
19
          It is so Ordered.
20
          Dated this 21st day of November, 2005.
21

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24                                           United States District Judge

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